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                      UNITED STATES DISTRICT COURT
                          MTSTRTCT MF" CONNMCTTÇUT'


QAZI'Ï. AZAM                                CIVIL ACTION NO.
                                            3:18-CV-01260-AV/T
                  Plaintiff,
      V


YALtr UNIVERSITY


                   Defendant
                                             November 18, 2OI9
                    NOTTCE OF CONTINUED DEPOSITION

      PLEASE TAKE NOTICE that the defendant, Yale University, through

counsel, will continue to take the deposition of the plaintiff, QAZIT. AZ^M,

pursuant tcl Rule 30 et seq. of the Federal Rules of Civil Procedure on T\resday,

December 10, at 10:00 a.m. at Clendenen & Shea,LLC,400 Orange Street, New

Haven, Connecticut 0651 1, before Bonita Cohen or another duly authorized

court reporter, which depositioir shall contiirue until completed.

      You are invited to attend and cross-examine.
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                                      THE D      NDANT




                                             SHEA, ESQ. (CT13781)
                                         NJAMTN LEVTTES (CT30481)
                                      Attorneys for Plaintiffs
                                      Clendenen & Shea, LLC
                                      400 Orange Street
                                      New Haven, CT 06511
                                      Telephone: 203-787 -1 183
                                      Fax: 203-787-2847
                                      kcs@clenlaw.com
                                      bhl@clenlaw.com


CERTIFICATION

      This is to certify that a copy of the foregoing has been sent to all required
parties by        on November 18, 2OL9.




       ENEN &    S   EA, LLC
